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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v. : Case No. 23-cr-00234-JEB

BIAO QU,

Defendant.
ORDER
Pursuant to the motion to dismiss filed by the United States, it is hereby ordered that the

Motion to Dismiss the Indictment pursuant to Rule 48(a) with prejudice is GRANTED.

SO ORDERED this 23rd day of January, 2025.

HOE ESLE J S E. BOASBERG
Uni tates District Court Chief Judge

